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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                           Crim. No. 18-CR-32-2 (DLF)
               v.
                                           FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



    GOVERNMENT’S RESPONSE REGARDING THE UNSEALING OF ORDERS,
     HEARING TRANSCRIPTS, AND PLEADINGS RELATED TO DEFENDANT
                CONCORD’S MOTION TO SHOW CAUSE

       The United States of America respectfully submits this response to the Court’s Order

denying the motion for an order to show cause filed by defendant Concord Management and

Consulting LLC. In the Court’s Order, the Court gave the government leave to file any objections

to Concord’s request to unseal (1) the May 28, 2019 hearing transcript, Dkt. 144; (2) the Court’s

May 29, 2019 Order, Dkt. 137; (3) the parties’ supplemental briefs, Dkts. 139, 140, 142, and 143;

and (4) the Court’s July 1, 2019 Memorandum Opinion and Order. The government initially shared

the Court’s concern that making the proceedings and pleadings on this issue public could

exacerbate any risk of prejudice by potentially generating publicity on the very matters alleged in

Concord’s motion to have been prejudicial, see 5/28/19 Tr. 26, 35-36. However, in light of the fact

that Concord itself has petitioned the Court to unseal these matters, and given that any prejudice

can be fully and adequately addressed through careful voir dire questioning and jury instructions,

Gentile v. State Bar of Nevada, 501 U.S. 1030, 1055 (1991) (plurality opinion), the government is

withdrawing its opposition to unsealing.




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       WHEREFORE, the government has no objection to the Court’s unsealing of (1) the May

28, 2019 hearing transcript, Dkt. 144; (2) the Court’s May 29, 2019 Order, Dkt. 137; (3) the parties’

supplemental briefs, Dkts. 139, 140, 142, and 143; and (4) the Court’s July 1, 2019 Memorandum

Opinion and Order.



                                      Respectfully submitted,


JOHN C. DEMERS                                                JESSIE K. LIU
Assistant Attorney General for National Security              United States Attorney

By:      /s/                                                  By:      /s/
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2019, I caused a copy of the foregoing motion to seal to be

transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord Management

and Consulting LLC, via email.

                                                              By:       /s/
                                                              Kathryn Rakoczy
                                                              Assistant United States Attorney
                                                              555 Fourth Street NW
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